         Case 1:17-cv-11008-MLW Document 3 Filed 05/31/17 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

                                          )
JANSSEN BIOTECH, INC.                     )
                                          )
                        Plaintiff,        )
                                          )
                  v.                      )                Civil Action No.
                                          )
CELLTRION HEALTHCARE CO., LTD.,           )
CELLTRION, INC., and HOSPIRA, INC.,       )
                                          )
                        Defendants.       )
_________________________________________ )

           PLAINTIFF JANSSEN BIOTECH, INC.’S RULE 7.1 STATEMENT


       Pursuant to Fed. R. Civ. P. 7.1, Plaintiff Janssen Biotech, Inc. (“Janssen”), a

nongovernmental corporate party, certifies that other than its parent corporation, Johnson &

Johnson, which is a publicly-held corporation, there are no publicly-held corporations which own

more than 10% of Janssen’s stock.


Dated: May 31, 2017
                                                    /s/ Alison C. Casey
                                                   Heather B. Repicky (BBO #663347)
                                                   hrepicky@nutter.com
                                                   Alison C. Casey (BBO #688253)
                                                   acasey@nutter.com
                                                   NUTTER MCCLENNEN & FISH LLP
                                                   Seaport West
                                                   155 Seaport Boulevard
                                                   Boston, MA 02210
                                                   617-439-2000
                                                   FAX: 617-310-9000

       Gregory L. Diskant
       gldiskant@pbwt.com
       Irena Royzman
       iroyzman@pbwt.com
       Aron Fischer
       afischer@pbwt.com
            Case 1:17-cv-11008-MLW Document 3 Filed 05/31/17 Page 2 of 2



        Andrew D. Cohen
        acohen@pbwt.com
        PATTERSON BELKNAP WEBB & TYLER LLP
        1133 Avenue of the Americas
        New York, NY 10036-6710
        212-336-2000
        FAX: 212-336-2222

        Dianne B. Elderkin
        delderkin@akingump.com
        Barbara L. Mullin
        bmullin@akingump.com
        Angela Verrecchio
        averrecchio@akingump.com
        Jason Weil
        jweil@akingump.com
        AKIN GUMP STRAUSS HAUER & FELD LLP
        Two Commerce Square
        2001 Market Street, Suite 4100
        Philadelphia, PA 19103-7013
        215-965-1200
        Fax: 215-965-1210

        Attorneys for Plaintiff
        Janssen Biotech, Inc.
3596639.1




                                         2
